Case 1:21-cv-09601-JMF Document 1-1 Filed 11/19/21 Page 1 of 10


                                                         EXHIBIT A
Case 1:21-cv-09601-JMF Document 1-1 Filed 11/19/21 Page 2 of 10
Case 1:21-cv-09601-JMF Document 1-1 Filed 11/19/21 Page 3 of 10
Case 1:21-cv-09601-JMF Document 1-1 Filed 11/19/21 Page 4 of 10
Case 1:21-cv-09601-JMF Document 1-1 Filed 11/19/21 Page 5 of 10
Case 1:21-cv-09601-JMF Document 1-1 Filed 11/19/21 Page 6 of 10
Case 1:21-cv-09601-JMF Document 1-1 Filed 11/19/21 Page 7 of 10
Case 1:21-cv-09601-JMF Document 1-1 Filed 11/19/21 Page 8 of 10
Case 1:21-cv-09601-JMF Document 1-1 Filed 11/19/21 Page 9 of 10
Case 1:21-cv-09601-JMF Document 1-1 Filed 11/19/21 Page 10 of 10
